Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 1 of 15 PageID #: 2075




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK

    JOSIAH GALLOWAY,

                                Plaintiff,             19 CV 5026 (AMD) (JMW)

                   -against-

    COUNTY OF NASSAU, et al.,

                                Defendants.




                        Plaintiff’s Memorandum of Law in Support of his
                            Motion to Disqualify Sokoloff Stern LLP




                                    Elefterakis, Elefterakis & Panek
                                       80 Pine Street, 38th Floor
                                     New York, New York 10005




   July 19, 2021
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 2 of 15 PageID #: 2076




                                                                 Table of Contents
   Table of Authorities ......................................................................................................................... ii
   Preliminary Statement ...................................................................................................................... 1
   Procedural History ........................................................................................................................... 1
   Facts................................................................................................................................................. 2
   Argument ......................................................................................................................................... 5
        The Facts Above Demonstrate an Unwaivable Conflict for Sokoloff .......................................... 5
              Officer v. Officer Conflict .................................................................................................... 6
              Officer v. Municipality Conflict ........................................................................................... 8
              District Attorney v. Individual Defendant Conflict ............................................................ 11
   Conclusion ..................................................................................................................................... 12




                                                                              i
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 3 of 15 PageID #: 2077




                                                            Table of Authorities

                                                                      CASES
   Blake v. Race, 01 CV 6954 (SJ) (CLP) (E.D.N.Y. Jan. 11 2005) .............................................. passim
   Board of Education v. Nyquist, 590 F.2d 1241 (2d Cir. 1979)....................................................... 5, 6
   Cinema 5, Ltd. V. Cinerama, Inc., 528 F.2d 1384 (2d Cir. 1976) .................................................... 6
   Dunton v. County of Suffolk, 729 F.2d 903, amended, 748 F.2d 69 (2d Cir. 1984) ................... passim
   Emile Indus., Inc. v. Patenetex, Inc., 478 F.2d 562 (2d Cir. 1973) .................................................... 5
   Galloway v. Cty. of Nassau, 2021 WL 1902230 (E.D.N.Y. May 10, 2021) ........................... 1, 2, 3, 4
   Hull v. Celanese Corp., 513 F.2d 568 (2d Cir. 1975) ........................................................................ 5
   Owen v. City of Independence, 445 U.S. 622 (1980).......................................................................... 8
   Tiffany v. Village of Briarcliff, 216 F.3d 1073 (2d Cir. 2000) ........................................................... 8
   U.S. v. Schwarz, 283 F.3d 76 (2d Cir. 2002)................................................................................ 6, 7
   Wheat v. United States, 486 US. 153 (1988) ................................................................................. 5, 6

                                                                   STATUTES
   18 U.S.C. § 1512 ............................................................................................................................. 4
   42 U.S.C. § 1983 ......................................................................................................................... 7, 8

                                                                      RULES
   Loc. Civ. R. 1.5(b)(5)....................................................................................................................... 1
   N.Y. Rule of Prof. Conduct 1.7 ............................................................................................... 2, 6, 9
   N.Y. Rule of Prof. Conduct 1.7(a) ................................................................................................... 1
   N.Y. Rule of Prof. Conduct 1.7(b) ................................................................................................... 3
   N.Y. Rule of Prof. Conduct 1.7(b)(1) .............................................................................................. 6
   N.Y. Rule of Prof. Conduct 1.7(b)(4) .............................................................................................. 9
   N.Y. Rule of Prof. Conduct 1.8(f) .................................................................................................... 9




                                                                          ii
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 4 of 15 PageID #: 2078




                                              Preliminary Statement

           If it should please the Court, Sokoloff Stern LLP (“Sokoloff”) has non-waivable conflicts in

   violation of Rule 1.7(a) of the New York Rules of Professional Conduct:1

           •    First, as discussed by the Hon. Chief Magistrate Judge Cheryl L. Pollak on similar facts in
                Blake v. Race, 01 CV 6954 (SJ) (CLP) (E.D.N.Y. Jan. 11 2005), between the officers, due
                to varying degrees of knowledge, exposure, taint, and incentive for blame-shifting.
           •    Second, between Nassau County and the individual defendants, with the County
                disavowing the officers’ misconduct and the officers purporting to rely on official County
                policies. Dunton v. County of Suffolk, 729 F.2d 903, amended, 748 F.2d 69 (2d Cir. 1984).
           •    Third, as in Blake, between the Nassau County District Attorney’s office, which
                exonerated plaintiff and discovered police misconduct in its reinvestigation, and the
                individual defendants responsible for the misidentifications – Sokoloff not only
                represented the ADA witnesses at depositions but impeded their favorable testimony to
                benefit its clients.

       Taken together, disqualification is warranted.

                                                Procedural History

       Plaintiff Josiah Galloway commenced this civil rights action on September 14, 2019. DE #1.

   Following extensive discovery, plaintiff was granted leave to file his Fourth Amended Complaint. See

   Galloway v. Cty. of Nassau, ___F.Supp.3d.____, 2021 WL 1902230 (E.D.N.Y. May 10, 2021) (DE

   #113). Plaintiff’s amended pleading, which now includes a Monell claim challenging the County’s

   identification procedures, was filed on May 11, 2021. DE #114 (“FAC”).




   1
    The New York Rules of Professional Conduct apply to the conduct of attorneys appearing before the United
   States District Court for the Eastern District of New York. See Rule 1.5(b)(5) of the Local Rules of the Southern
   and Eastern District Courts of New York.
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 5 of 15 PageID #: 2079




         Nassau County and eight former employees of its police department – defendants Thomas

   D’Luginski, George Darienzo, Charles DeCaro, Richard Dorsi, Ronald Lipson, Matthew Ross, Carl

   Strange2 and Rene Yao – all represented by Sokoloff, answered on May 17, 2021. DE #116. None of

   the defendants have executed a conflict waiver. See Nassau County Response to Plaintiff’s Document

   Request 55 (“County Responses”), annexed to the Harvis Decl. as Exhibit 2, p. 2.

                                                        Facts

         The facts below demonstrate unwaivable RPC 1.7 conflicts.

         When the Nassau County District Attorney’s Conviction Integrity Unit (“CIU”) reinvestigated

   plaintiff’s conviction in 2018 and determined he was innocent, CIU learned from Jorge Anyosa –

   plaintiff’s alleged victim and the sole eyewitness to the shooting – about police misconduct in the

   identification procedures, including defendant Lipson reportedly having told Anyosa he picked “the

   right person” from a photo array. See FAC, ¶¶ 39-40; Galloway, 2021 WL 1902230 at *2. Moreover,

   the photo array, prepared by defendant Lipson and containing an old photo of plaintiff with much

   shorter hair, was biased and significantly contributed to plaintiff’s misidentification. See Eyewitness

   Identification Expert Report of Dr. Jennifer Dysart dated March 4, 2021, annexed to the Harvis Decl.

   as Exhibit 3, § 3 & Appendix D, pp. 10-12, 48-49. The seven officers represented by Sokoloff who

   did not prepare or administer the photo array have good reason to distance themselves from defendant

   Lipson.

         The subsequent lineup procedure was similarly problematic. Orchestrated by defendant Ross, the

   police used phone books, hats and sheets to conceal plaintiff’s distinguishing characteristics, objectively

   increasing the likelihood of misidentification. See id. at §§ 4-8, pp. 12-19; see also FAC at ¶¶ 47-53;


   2
       As of October 2020, defendant Strange was still employed as a Nassau County detective.



                                                          2
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 6 of 15 PageID #: 2080




   Galloway, 2021 WL 1902230 at *2. As with Lipson, it is hard to imagine that Sokoloff’s other clients

   – if fully informed as required by Rule 1.7(b) – would elect to stand trial jointly represented with this

   defendant.

       Indeed, from the outset of the instant litigation, the tactics employed by the individual defendants

   to secure the misidentifications of plaintiff, as exposed by the CIU investigation, raised thorny

   questions for the Nassau County defendants to answer in discovery. See Transcript of Initial

   Conference before the Hon. James Orenstein, April 6, 2020 (DE #68), p. 7, ln. 6-8 (THE

   COURT: ...I’ll leave it for another day to have a discussion of why on earth police might want to do

   what apparently they did here...); see also Transcript of Pre-Motion Conference before the Hon. Ann

   M. Donnelly, March 10, 2020, (DE #51-1), p.16, ln. 21-22 (describing the evidence supporting

   plaintiff’s individual-liability claims as “very strong”).

       Against this backdrop, the parties began depositions in Fall 2020. Sokoloff represented not only

   the nine Nassau County defendants, but numerous Nassau County District Attorney witnesses,

   notably including CIU Chief and lead investigator Sheryl Anania, who had written the notes reprinted

   at ¶ 72 of the FAC. Sokoloff repeatedly instructed Ms. Anania not to answer questions, impeding

   plaintiff’s access to key testimony from a favorable witness. See Deposition Transcript of Sheryl Anania,

   September 11, 2020, annexed to the Harvis Decl. as Exhibit 4, p. 78, ln. 17 - p. 81, ln. 10. Sokoloff’s

   obstruction of the favorable testimony raises a further conflict.

       Several weeks later, defendant Ross, also represented by Sokoloff, testified that he had been

   repeatedly trained by Nassau County to conduct the lineups as he did in Mr. Galloway’s case “so it is




                                                         3
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 7 of 15 PageID #: 2081




   as fair as it can be for the defendant.” Deposition Transcript of Matthew Ross, November 16, 2020

   (“Ross Dep. Tr.”), annexed to the Harvis Decl. as Exhibit 5, p. 29, ln. 12- p. 34, ln. 15.3

       In January 2021, defendant Ross’s former fiancé, Lori Magliaro, came forward out of the blue

   with an affidavit accusing Ross of having committed perjury at his deposition. See Affidavit of Lori

   Magliario, annexed to the Harvis Decl. as Exhibit 6.

       Ms. Magliaro was deposed last month. Under questioning from Sokoloff, Magliaro was guided

   through a line-by-line recantation of the affidavit. See Lori Magliaro Deposition Transcript, June 15,

   2021 (“Magliaro Dep. Tr.”), annexed to the Harvis Decl. as Exhibit 8, p. 6, ln. 13 - p. 17, ln. 7.

       Review of Ms. Magliaro’s subsequently produced correspondence, however, casts doubt on Ms.

   Magliaro’s deposition testimony and bolsters the perjury allegations against Ross. Compare id. at p.

   19, ln. 15 - p. 22, ln. 3; p. 26, ln. 20- p. 28, ln. 3; p. 28, ln. 11 - p. 29, ln. 4 (Magliaro claims her

   affidavit was signed under duress from her attorney) with February 23, 2021 Letter and encl., annexed

   to the Harvis Decl. as Exhibit 7, p. 2, ln. 10-12 (Magliaro writes to her attorney more than a month

   after signing her affidavit: “[Ross] continues to abuse me to the point I can[’]t focus. He is the liar

   here, always has been, and I stand my ground for defending that boy that suffered because of his

   misconduct.”); Letters dated June 15 and 16, 2021 and encl., annexed to the Harvis Decl. as Exhibit

   9, e.g., p. 51; see also 18 U.S.C. § 1512. Within the communications from Ross (which plaintiff has

   yet to discover in their entirety) there would appear to be evidence of bad acts beyond intimidation,

   including the filing of false insurance documents and restricted database access. Harvis Decl., Exhibit


   3
     It was based on such claims by Ross and the other individual Nassau County defendants that plaintiff sought,
   and was granted, leave to assert a Monell claim against Nassau County. See FAC, ¶ 132; Galloway, 2021 WL
   1902230 at *5 (“It is clear from the proposed pleading that Galloway is asserting that that the identification
   policies employed by the County at the time of his conviction were likely to result in misidentification.”); see
   also Dunton, 729 F.2d at 907 (“After Monell the interests of a municipality and its employee as defendants in a
   section 1983 action are in conflict.”) (collecting cases).


                                                          4
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 8 of 15 PageID #: 2082




   7, p. 10 (“BTW I used your mom[’]s address for you on Ins policy. I refused to use Belleview

   address.”); id. at p. 4, ln. 14 (“My report proves that liar should be your middle name.”) (emphasis

   added).

                                                  Argument

                    The Facts Above Demonstrate an Unwaivable Conflict for Sokoloff

       A district court’s authority to disqualify an attorney arises from its responsibility to supervise the

   members of its bar, Hull v. Celanese Corp., 513 F.2d 568, 571 (2d Cir. 1975), and “has long been

   assumed, without discussion.” Board of Education v. Nyquist, 590 F.2d 1241, 1245-1246 (2d Cir.

   1979).

       Courts may order disqualification to preserve the integrity of the adversarial process in actions

   before them or where an attorney’s conflict of interests undermines the court’s confidence in the vigor

   of the attorney’s representation of his client. Id. at 1246. As the United States Supreme Court observed

   in Wheat v. United States, 486 US. 153, 158 n.2 (1988): (“[T]he right of counsel ‘does not override

   the broader societal interests in the effective administration of justice’…or in the maintenance of

   ‘public confidence in the integrity of our legal system’”) (internal citations omitted).

       In considering a motion for disqualification, a court is faced with the need to “preserve a balance,

   delicate as it may be, between an individual’s right to his own freely chosen counsel and the need to

   maintain the highest ethical standards of professional responsibility.” Emile Indus., Inc. v. Patenetex,

   Inc., 478 F.2d 562, 564-65 (2d Cir. 1973). The attorney with the concurrent representation bears a

   “heavy burden” to show, at the very least, that there will be no actual or apparent conflict in loyalties

   or diminution in the vigor of her representation. Cinema 5, Ltd. V. Cinerama, Inc., 528 F.2d 1384,

   1387 (2d Cir. 1976). Any doubt in resolving a motion to disqualify must be resolved in the movant’s

   favor. Hull, 513 F.2d at 571.


                                                       5
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 9 of 15 PageID #: 2083




   Officer v. Officer Conflict

       Rule 1.7 of the New York Rules of Professional Conduct precludes a lawyer from representing a

   client if a reasonable lawyer would conclude that the representation will involve the lawyer in

   representing differing interests, except that if the lawyer believes she will be able to provide competent

   and diligent representation to each affected client, and each affected client gives informed consent,

   confirmed in writing, a lawyer may represent such a client. 22 N.Y.C.R.R. 1200.1.7 (2020). Under

   RPC 1.7(b)(1) a waiver is not effective unless a reasonable lawyer would believe the representation is

   appropriate. See Blake v. Race, Harvis Decl., Exhibit 1 (rejecting waiver of conflict in New York City

   Corporation Counsel’s representation of Assistant District Attorney); Wheat, 486 U.S. at 162

   (“[W]here a court justifiably finds an actual conflict of interest, there can be no doubt that it may

   decline a proffer of waiver, and insist that defendants be separately represented.”).

       The Second Circuit has recognized “the potential for conflict is hardly limited to the trial context

   but can infect, actually or potentially, a broad spectrum of activities,” Cinema 5, 528 F.2d at 1387; see

   Nyquist, 590 F.2d at 1246.

       In U.S. v. Schwarz, 283 F.3d 76 (2d Cir. 2002), the Second Circuit reversed a criminal verdict,

   even though the officers there had waived conflict in open court and the trial judge, after holding a

   hearing, had accepted the waiver, permitting simultaneous representation. The Court of Appeals

   ordered a new trial, finding an unwaivable conflict based on the different defenses and factual

   contentions among the represented parties. Id. at 91, 95-6.4




   4
     Though Schwarz is a criminal case, the conflict questions it illuminates are even more compelling in a civil
   case, in which this Court does not have to balance conflict questions with a criminal defendant’s constitutional
   right to counsel of their choice.


                                                          6
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 10 of 15 PageID #: 2084




       Defense conflicts in § 1983 litigation outside of Dunton were analyzed at length by the Hon. Chief

   Magistrate Judge Cheryl L. Pollak in Blake v. Race. See Harvis Decl., Exhibit 1. In that case, also

   involving a wrongful conviction, Judge Pollak adjudicated a disqualification motion where defense

   counsel was alleged to have had a “fundamental” conflict: “namely, counsel is attempting to represent

   individuals whose interests and responsibilities for plaintiff’s injuries may be vastly different.” Id. at 9.

   In determining that a hearing was necessary on the issue, Judge Pollak described several potential

   conflicts and remarked that “[t]he Court is concerned that because Race was the supervisor, and

   because the officers had different roles in the case, and thus different levels of knowledge of and contact

   with the informant, there may be other examples of potential conflict between officers’ respective

   positions.” Id. at 11.

       Here, the individual officers have varying liability exposure, with Lipson and Ross standing apart

   from the other defendants as particularly exposed based on the centrality of their involvement in the

   alleged misconduct. The individual defendants have also presented conflicting testimony about critical

   facts at issue in this case, such as: plaintiff’s appearance while in custody, the steps taken to determine

   whether there was probable cause to conduct a photo array procedure, whether plaintiff made

   statements of admission during his interrogation, what instructions were given to the witnesses, what

   information about the perpetrator was known to investigators, which officers were involved in key

   decisions, and the extent of supervisory involvement. This is precisely the situation that concerned the

   Court in Blake. Additionally, the officers who did not tell Anyosa he had picked the right guy and

   who did not cause plaintiff to sit on phone books in the line-up or allegedly lie at their depositions

   may prefer to distance themselves from such conduct and be separately represented.




                                                        7
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 11 of 15 PageID #: 2085




          Now that Anyosa has alleged specific wrongdoing against Lipson, and Magliaro has alleged

   specific wrongdoing against Ross, they and the other defendants must be afforded conflict-free counsel

   and a conflict waiver is simply impossible.

   Officer v. Municipality Conflict

      Because a municipality may be held liable under 42 U.S.C. § 1983 for employees’ actions taken

   pursuant to municipal policy, the interests of a municipality and its employees as defendants in a 1983

   action are in conflict. Dunton, 729 F.2d at 907. This is because

                  A municipality may avoid liability by showing that the employee was
                  not acting within the scope of his official duties, because his unofficial
                  actions would not be subject to municipal policy. The employee, by
                  contrast, may partially or completely avoid liability by showing that
                  he was acting within the scope of his official duties. If he can show
                  that his actions were pursuant to an official policy, he can at least shift
                  part of his liability to the municipality. If he is successful in asserting
                  a good faith immunity defense, the municipality may be wholly liable
                  because it cannot assert the good faith immunity of its employees as a
                  defense.

   Id. (citing Owen v. City of Independence, 445 U.S. 622 (1980)).

      The Second Circuit has continued to emphasize the need for close scrutiny of potential Dunton

   conflicts in civil rights cases. See Tiffany v. Village of Briarcliff, 216 F.3d 1073 n.1 (2d Cir. 2000)

   (expressing “concern that the court and parties were not cognizant of the conflict that existed here”

   and noting that “[w]hile Dunton stopped short of creating an automatic rule of disqualification in such

   circumstances, the Court there strongly advised against multiple representation in § 1983 cases”)

   (citation omitted).

      Here, Sokoloff can defend its client, Nassau County, from civil liability by establishing that

   Sokoloff’s other clients – the eight individual former Nassau County detectives – were not acting

   pursuant to the County’s policies and/or training when they engaged in the alleged conduct.



                                                       8
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 12 of 15 PageID #: 2086




   Alternatively, Sokoloff can defend its individual-defendant clients by establishing that at all times, they

   were acting pursuant to Sokoloff’s other client – the County’s – policies and training. These adverse

   positions will necessarily impact a jury’s final decision.5

       If Sokoloff can establish that its individual-defendant clients’ actions were pursuant to an official

   policy or practice, Sokoloff can shift part of the liability to its other client, Nassau County. In pointing

   the finger at its client Nassau County Sokoloff could potentially protect its eight individual clients

   from being assessed punitive damages. Moreover, in the event that a constitutional injury is established,

   which on these facts is a very real possibility, if Sokoloff is successful in obtaining immunity for its

   individual-defendant clients, Sokoloff’s other client, the County, may be held solely liable to plaintiff

   (because the immunity defense is not available to Nassau County). See Owen.

       Moreover, given the evidence of perjury relating to defendant Ross and Ms. Magliaro, and the

   absence of any written conflict waivers, it is unlikely that Ross has been appropriately counseled or

   would knowingly agree to joint representation with Nassau County in violation of RPC 1.7(b)(4);

   especially since (a) the County is his former employer, (b) the Nassau County CIU conducted the re-

   investigation of plaintiff’s conviction, (c) the CIU uncovered police misconduct, (d) the County is a

   decision-maker regarding whether or not Ross (or Lipson, or the other defendants) should be referred

   for criminal prosecution, and (e) if the County obtains further evidence against Ross (or others), the

   County would be compelled to reopen the criminal investigation, and if appropriate, seek to terminate

   his pension and/or refer him for criminal prosecution. See Dunton, 729 F.2d at 907-08 (“As a layman,




   5
    Sokoloff appears to have neither the RPC 1.7 written waiver required to attempt this joint representation nor
   the waiver required by RPC 1.8(f), needed because Nassau County is presumably paying for the joint defense.



                                                         9
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 13 of 15 PageID #: 2087




   he could not be expected to appreciate his need to prove a good faith defense. Furthermore, he was

   never advised that his counsel would take positions directly contrary to his interest.”).

       Furthermore, while punitive damages cannot be awarded against the County in this lawsuit,

   punitive damages can be awarded against the individual defendants. Importantly, if punitive damages

   are awarded against the individual defendants, they may be held personally liable for same.

       Evidence of the impermissible concurrent conflicts’ impact can already be found in the single

   Answer filed by the Nassau County defendants (DE #116). By way of example, Sokoloff denied on

   behalf of its jointly represented clients the existence of the policies and procedures testified to by the

   individuals (¶ 132); meaning, if the identification procedures employed by the individual defendants

   are found to be unlawful, those defendants can no longer argue that they are entitled to qualified

   immunity because their own counsel threw them under the bus. Stated another way, by Sokoloff

   pleading on behalf of its clients that the County policies allegedly contributing to the

   misidentifications were not in force, if Sokoloff’s other clients – the individuals – are found to have

   violated plaintiff’s constitutional rights, they acted contrary to their policies and training. Compare

   FAC, ¶¶ 129-133 with Answer (DE #116), ¶¶ 129-133.

       When it comes time to argue damages to the jury, how is that going to work? Is Sokoloff going to

   argue that its client – Nassau County – and not Sokoloff’s other clients – the individuals – should be

   held solely financially liable because of its deficient policies and training? Or, is Sokoloff going to argue

   that its clients – the individuals – should be held solely financially liable because they acted contrary

   to Sokoloff’s other client – Nassau County’s – policies and training?

       The concurrent conflicts of interest could not have been properly waived, have not been waived,

   and will play out to the detriment of the individual defendants and plaintiff. Plaintiff is prejudiced by




                                                        10
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 14 of 15 PageID #: 2088




   the conflicts, as any judgment obtained can be collaterally attacked and is subject to reversal.

   Specifically, the individual defendants can fairly argue on appeal that they did not provide “informed

   consent” to the joint representation, that their personal interests were not properly represented at

   summary judgment or trial, that any verdict and award of punitive damages should be set aside, and

   that they should be entitled to a new trial. The new trial would take place at a significant cost to the

   plaintiff, and with defense counsel having already had the benefit of discovering plaintiff’s trial

   litigation strategy, and having already heard opening and closing arguments.

   District Attorney v. Individual Defendant Conflict

      In Blake, Judge Pollak concluded that Corporation Counsel’s representation of a non-party

   District Attorney witness warranted disqualification without the need for a hearing. Among other

   reasons, Judge Pollak was concerned “that the Corporation Counsel’s instruction to the ADA not to

   sign an affidavit which the ADA had previously agreed was accurate and truthful – creates an

   appearance of impropriety.” Id. at 14. “Although this Court does not draw any conclusion that counsel

   acted improperly in this regard,” Judge Pollak stated, “their actions violated Canon 9 to the extent

   that they created this appearance of impropriety, by advising the non-party witness to withdraw his

   statement.” Id. The same result is warranted here.

      Given the facts here there is a conflict for Sokoloff to have represented the DA witnesses. By

   repeatedly instructing the witness not to answer, Sokoloff prioritized the interests of the County in

   avoiding liability over the core fact-finding function of the discovery process. To avoid even the

   appearance of impropriety, the District Attorney witnesses should have been separately represented.

          One final observation is in order. The conflicts in this case are staggeringly obvious and

   significant as discussed above, but what is even more shocking is that Sokoloff proceeded in this case




                                                     11
Case 2:19-cv-05026-AMD-JMW Document 123 Filed 09/07/21 Page 15 of 15 PageID #: 2089




   without at least attempting to proffer a written conflict waiver, a first step in any conflict waiver

   process. See County Responses, Harvis Decl., Exhibit 2, Response to Plaintiff’s Request for Production

   55. Whatever protestations this Court hears from the Sokoloff firm, we ask that the credibility of those

   assertions be considered in the context of a law firm which has not even attempted to assert that it

   recognizes the conflict issues and has sought to address them.

                                                 Conclusion

          For the foregoing reasons, plaintiff respectfully requests that the Court disqualify Sokoloff and

   grant plaintiff such other and further relief as the Court deems just and proper.

   Dated: July 19, 2021
          Briarcliff Manor, New York

                                                  Elefterakis, Elefterakis & Panek

                                                  Gabriel Digitally     signed by
                                                               Gabriel P. Harvis

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